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                               IN THE UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF TEXAS
                                      SAN ANTONIO DIVISION


 LA UNION DEL PUEBLO ENTERO, et al.,               §
       Plaintiffs,                                 §
                                                   §
  v.                                               §    Case No. 5:21-cv-844-XR
                                                   §
  GREGORY W. ABBOTT, et al.,                       §
       Defendants.                                 §




STATE DEFENDANTS’ UNOPPOSED MOTION FOR ENLARGEMENT OF TIME TO FILE BRIEF IN
        RESPONSE TO OCA-GH PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

        Defendants Gregory W. Abbott, in his official capacity as Governor of Texas, Jane Nelson, in

her official capacity as Secretary of State, John Scott, in his official capacity as Provisional Attorney

General of Texas, and the State of Texas (“State Defendants”), respectfully move the Court for an

enlargement of time to file nunc pro tunc their Brief in Response to Plaintiffs OCA-Greater Houston’s

Motion for Summary Judgment, which was filed after the deadline. See ECF 646.

        For the reasons set forth below, the State Defendants respectfully request that the Court

accept their Brief in Response to OCA-Greater Houston’s Motion for Summary Judgment.

        1. State Defendants’ deadline to file their Brief in Response to OCA-Greater Houston’s

            Motion for Summary Judgment (“Brief”) was June 23, 2023, pursuant to the parties’ June

            2, 2023, Unopposed Joint Motion to Set Deadlines for Responsive Pleadings to Motions

            for Summary Judgment (ECF 622), which was granted by the Court on the same day by

            text-only entry.

        2. State Defendants worked diligently to file their Brief prior to the June 23, 2023, midnight

            deadline, but were forced to file shortly afterwards due to the time constraints of


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           responding to two substantial summary judgment motions and preparing voluminous

           exhibits. State Defendants apologize to the Court.

       3. Plaintiffs’ OCA-Greater Houston are unopposed to this Motion.

       4. The circumstances surrounding State Defendants’ delay in filling support granting the

           extension, including State Defendants’ “good faith and the absence of any danger of

           prejudice to [other parties] or of disruption to efficient judicial administration posed by

           the late filings.” Pioneer Inv. Services Co. v. Brunswick Associates Ltd. P’ship, 507 U.S. 380, 397

           (1993).

       5. Plaintiffs OCA-Greater Houston are not prejudiced by the delayed filing of State

           Defendants’ Brief. Further, State Defendants’ delay in filing did not disrupt the Court’s

           schedule.

       6. Given the short delay in filing, and lack of prejudice to the other parties in this matter,

           State Defendants respectfully request that the Court grant an extension of time for the

           filing nunc pro tunc of State Defendants’ Brief. See ECF 646.

                                             CONCLUSION

       For the reasons explained above, State Defendants respectfully request the Court grant their

motion for enlargement of time to file nunc pro tunc. See ECF 646.




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 Date: June 25, 2023                          Respectfully submitted.

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                                     CERTIFICATE OF SERVICE

     I certify that a true and accurate copy of the foregoing document was filed electronically (via
CM/ECF) on June 25, 2023, and that all counsel of record were served by CM/ECF.
                                              /S/ RYAN G. KERCHER
                                              RYAN G. KERCHER

                                 CERTIFICATE OF CONFERENCE

        I certify that on June 24, 2023, my office conferred by email with counsel for OCA-Greater
Houston concerning the subject of the instant motion. Counsel for OCA-Greater Houston indicated
that they are unopposed to the motion.
                                              /S/ RYAN G. KERCHER
                                              RYAN G. KERCHER




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